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                                       DISTRICT JUDGE'S MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Diane J. Humetewa              Date: August 18, 2023
USA v. Michael Lacey, et al                         Case Number: CR-18-00422-PHX-DJH

Assistant U.S. Attorneys: Kevin Rapp, Austin Berry, Margaret Perlmeter, Andrew Stone, Peter
Kozinets
Attorneys for Defendants: Paul J. Cambria Jr., Retained for Defendant Lacey, present; Bruce S. Feder,
Retained and Eric W. Kessler, CJA for Defendant Spear, present; Gopi K. Panchapakesan, Retained for
Defendant Brunst, present; David S. Eisenberg, CJA for Defendant Padilla, present telephonically; Joy
M. Bertrand, CJA for Defendant Vaught, present telephonically.

Defendants: ☒ Present ☐ Not Present             ☒ Released       ☐ Custody ☐ Summons ☐ Writ

STATUS CONFERENCE:

9:35 a.m. Status Conference held. Discussion re: Supplemental Juror Questionnaires. The Court’s
ruling as to the strikes for hardship and cause are as set forth on the record. As to the first set of pre-
screened jurors, the remaining 83 will report, in addition to 27 from the second set of pre-screened
jurors, for a total of 110. Order to follow re: reporting prospective Jurors.

Discussion held re: additional trial matters. IT IS ORDERED that Defendants’ Objection to Proposed
Statement of the Case (Doc. 1660) is OVERRULED. The Court will read its revised statement of the
case at the beginning of trial. IT IS FURTHER ORDERED that the Defendants’ objection to the
First Amendment jury instruction (Doc. 1657) is OVERRULED. The Court will read to the jury its
revised First Amendment Instruction as provided to the parties on this date. Counsel is admonished
that they should confine their opening arguments to comply with Court’s First Amendment jury
instruction, should they intend to raise it at all. IT IS FURTHER ORDERED that the Court will not
provide pictures of the testifying witnesses to jurors. IT IS FURTHER ORDERED that 72 hours
in advance of trial, the parties shall exchange and deliver to the Court their exhibits and, respective
witness and exhibit lists. IT IS FURTHER ORDERED that within 72 hours of trial, the parties
shall exchange copies of the exhibits they intend to introduce into evidence. IT IS FURTHER
ORDERED that no later than 8/24/23, Defendants may file an objection to the Government’s proposed
limiting instruction as set forth in the Government’s Trial Brief (Doc. 1642 at 10).




Court Reporter Hilda Lopez                                                           Start: 9:35 AM
Deputy Clerk Liliana Figueroa                                                        Stop: 11:39 AM
                                                                                     Total: 2hrs 4 min
